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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

             Plaintiff,

  v.                                        Criminal Action No. 5:99CR13-01
                                                                    (STAMP)
  STANLEY HOBEREK,1

             Defendant.


                        MEMORANDUM OPINION AND ORDER
                     AFFIRMING AND ADOPTING REPORT AND
                    RECOMMENDATION OF MAGISTRATE JUDGE

                                I.    Background

        Defendant Stanley Hoberek, who is appearing pro se,2 was

  indicted by a grand jury on February 3, 1999 in a 29-count

  indictment relating to the distribution of cocaine, marijuana, and

  heroin.    The defendant was sentenced on September 16, 1999, to a

  period of imprisonment of 324 months to run concurrent with all

  counts.    Specifically, the defendant was sentenced to 324 months

  imprisonment    as     to   Count   One    for     conspiracy,     240   months

  imprisonment as to Count Twenty-Two for possession with intent to

  distribute crack cocaine, and 60 months imprisonment as to Counts

  Twenty-Three     and    Twenty-Four    for       violations   of    interstate

  transportation in aid to racketeering (“ITAR”).                  The defendant



        1
        The report and recommendation incorrectly names Stanley
  Hoberek as the petitioner and the United States of America as the
  respondent in this case.
        2
        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1237 (7th ed. 1999).
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  appealed his conviction to the United States Court of Appeals for

  the Fourth Circuit, which the Fourth Circuit denied.

          On October 25, 2000, the defendant filed his first motion to

  vacate, set aside, or correct sentence by a person in federal

  custody pursuant to 28 U.S.C. § 2255.          The motion was denied by

  this Court on April 11, 2002.            The Fourth Circuit denied the

  defendant’s appeal. The defendant filed his second motion to vacate

  on December 14, 2005, which was also denied.        On July 13, 2007, the

  defendant filed his third motion to vacate pursuant to 28 U.S.C. §

  2255.       The motion was denied by this Court.       The defendant then

  filed a notice of appeal, and the Fourth Circuit dismissed the

  appeal on May 20, 2008.3

          The defendant then filed two motions under Federal Rule of

  Civil Procedure 60(b)(4), which are currently before this Court.

  This matter was referred to United States Magistrate Judge James E.

  Seibert for a report and recommendation.        On January 14, 2009, the

  magistrate judge issued a report and recommendation recommending

  that the defendant’s motions be dismissed as successive petitions.

  The magistrate judge advised the parties that, pursuant to 28

  U.S.C. § 636(b)(1)(C), any party may file written objections to his

  proposed findings and recommendations within ten days after being

  served with a copy of the magistrate judge’s recommendation.             The



          3
        In between filing his several § 2255 motions, the defendant
  also filed a motion for correction of illegal sentence and a motion
  for reduction of sentence. Both of these motions were denied by
  this Court and on appeal.

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  defendant filed timely objections.               For the reasons set forth

  below, this Court finds that the report and recommendation of the

  magistrate judge should be affirmed and adopted in its entirety.

                                 II.   Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review   of   any     portion   of   the   magistrate   judge’s

  recommendation to which objection is timely made.                  As to those

  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”             See Webb v. Califano, 468 F.

  Supp. 825 (E.D. Cal. 1979).               Because the defendant has filed

  objections, this Court will undertake a de novo review as to those

  portions of the report and recommendation to which objections were

  made.

                                  III.    Discussion

           The Fourth Circuit has held that Rule 60(b) motions should be

  treated as successive applications for post-conviction relief under

  28 U.S.C. § 2255 when they present claims that are “equivalent to

  additional habeas claims.”           Hunt v. Nuth, 57 F.3d 1327, 1339 (4th

  Cir. 1995).      In United States v. Winestock, 340 F.3d 200 (4th Cir.

  2003), the Fourth Circuit further mandated that “district courts

  must treat Rule 60(b) motions as successive collateral review

  applications when failing to do so would allow the applicant to

  ‘evade the bar against relitigation of claims presented in a prior

  application or the bar against litigation of claims not presented



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  in a prior application.’” Id. at 206 (citing Calderon v. Thompson,

  523 U.S. 538, 553 (1998) (holding that courts must not allow

  prisoners to circumvent the strict requirements of 28 U.S.C.

  §§ 2254 and 2255 by attaching labels to petitions other than

  “successive application” for post-conviction relief)).

        The Winestock court also described the method that courts

  should use to distinguish a proper motion under Rule 60(b) from a

  “‘successive    [application]    in   60(b)’s   clothing.’”    Id.   at   207

  (quoting Lazo v. United States, 314 F.3d 571, 573 (11th Cir. 2002)

  (per curiam)).     The Court stated that

        a relatively straightforward guide is that a motion
        directly attacking the prisoner’s conviction or sentence
        will usually amount to a successive application, while a
        motion seeking a remedy for some defect in a collateral
        review process will generally be deemed a proper motion
        to reconsider.      Thus, a brand-new, free-standing
        allegation of constitutional error in the underlying
        criminal judgment will virtually always implicate the
        rules governing successive applications.

  Id.

        Here, the defendant’s Rule 60(b) motions are challenging the

  legality of his sentence and not seeking to remedy a defect in the

  collateral review process.        In his objections to the magistrate

  judge’s report and recommendation, the defendant contends that he

  is challenging the denial of his § 2255 motions and is not

  attempting to file a new claim for relief.          This Court disagrees

  and overrules the defendant’s objections.         In his first Rule 60(b)

  motion, Docket No. 513, the defendant attacks his conviction by

  claiming that the amount of drugs for which he was sentenced was



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  not charged in the indictment, pleaded, proven to a jury, or

  admitted to by the defendant at trial.                      Further, the defendant

  argues that the district court erred in finding that the decision

  in Apprendi v. New Jersey, 530 U.S. 466 (2000), was not applicable

  to the defendant’s case.           Similarly, the defendant’s second Rule

  60(b) motion, Docket No. 517, contains the same arguments as made

  in the first motion.             The defendant, therefore, is directly

  attacking his conviction and sentence in a manner that amounts to

  an appeal of the decision on his motions for habeas relief rather

  than   a   defect    in    the   collateral        review     process.      Thus,    the

  defendant’s claims cannot stand unless properly brought after

  receiving a certificate of appealability or permission to file a

  successive § 2255 motion.            For this reason, the defendant’s Rule

  60(b) motions must be denied.

                                   IV.    Conclusion

         Because, after a de novo review, this Court concludes that the

  magistrate judge’s recommendation is proper and the defendant’s

  objections to the report and recommendation lack merit, this Court

  hereby     AFFIRMS   and    ADOPTS     the       magistrate    judge’s     report    and

  recommendation       in    its   entirety.           Accordingly,        both   of   the

  defendant’s Rule 60(b) motions are DENIED WITH PREJUDICE.

         Should the defendant choose to appeal the judgment of this

  Court to the United States Court of Appeals for the Fourth Circuit,

  he is ADVISED that he must file a notice of appeal with the Clerk

  of this Court within 30 days after the date of the entry of this



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  judgment order.     Upon reviewing the notice of appeal, this Court

  will either issue a certificate of appealability or state why a

  certificate should not issue in accordance with Federal Rule of

  Appellate   Procedure    22(b)(1).       If   this   Court   should   deny   a

  certification, the defendant may request a circuit judge of the

  United States Court of Appeals for the Fourth Circuit to issue the

  certificate.

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this memorandum

  opinion and order to the pro se defendant by certified mail and to

  counsel of record herein.

        DATED:     March 2, 2009



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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